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             IN THE UNITED STATES COURT OF APPEALS
                     FOR THE NINTH CIRCUIT

JUNIOR SPORTS MAGAZINES, INC., ET
AL.,
                 Plaintiffs-Appellants,                    No. 22-56090

        v.

ROB BONTA, IN HIS OFFICIAL
CAPACITY AS ATTORNEY GENERAL
OF THE STATE OF CALIFORNIA, ET
AL.,
                  Defendants-Appellees.

SAFARI CLUB INTERNATIONAL, ET
AL.,
                  Plaintiffs-Appellants,                   No. 23-15199
       v.

ROB BONTA, IN HIS OFFICIAL
CAPACITY AS ATTORNEY GENERAL OF
THE STATE OF CALIFORNIA,
                   Defendant-Appellee.

             On Appeal from the United States District Courts
             for the Central and Eastern Districts of California

                            No. 2:22-cv-04663
                      Hon. Christina A. Snyder, Judge
                            No. 2:22-cv-1395
                        Hon. Dale A. Drozd, Judge

               PETITION FOR REHEARING EN BANC

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             INTRODUCTION AND RULE 35 STATEMENT
     The Supreme Court has long distinguished between speech at the core

of the First Amendment and commercial speech, which is afforded more

limited protection. Restrictions on commercial speech are evaluated under

the intermediate scrutiny standard established by Central Hudson Gas &

Electric Corp. v. Public Service Commission of New York, 447 U.S. 557

(1980). Under that test, if the commercial speech at issue [1] concerns a

lawful activity and is not misleading, then government regulation of the

speech will be upheld so long as [2] the government asserts a substantial

interest, [3] the regulation directly advances the government’s asserted

interest, and [4] the regulation is no more restrictive than necessary to serve

that interest.

     Both Junior Sports Magazines, Inc. v. Bonta (No. 22-56090) and Safari

Club International v. Bonta (No. 23-15199) involve First Amendment

challenges to a California law adopted to address the significant problem of

gun-related injuries and fatalities among children. The law prohibits

marketing and advertising of firearms “in a manner that is designed,

intended, or reasonably appears to be attractive to minors.” Plaintiffs in both

cases sought reversal of the district courts’ denial of their motions for

preliminary injunction. But in concluding that the law likely violates the

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First Amendment, a panel of this Court hearing both cases misapplied the

third and fourth steps of the intermediate scrutiny standard in a manner that

conflicts with Supreme Court and court of appeals precedent. See Fed. R.

App. P. 35(b)(1)(A). The panel improperly held that the State failed to

present empirical evidence that the law directly advances the State’s

substantial interests—even though this Court’s precedent recognizes that

common sense can support restricting advertising in order to dampen

demand. The panel also erroneously concluded that the law was more

extensive than necessary because it could imagine some overbroad

applications—even though the Supreme Court and this Court have explained

that laws are sufficiently tailored if the fit between means and ends is

reasonable, even if the law is overinclusive in some circumstances.

     The panel’s misapplication of intermediate scrutiny also implicates

“questions of exceptional importance.” See Fed. R. App. P. 35(b)(1)(B). It

jeopardizes California’s ability to protect its residents, especially minors,

from the scourge of gun violence. More generally, it risks undercutting the

ability of the government to effectively regulate the advertising and

marketing of inherently dangerous products to children. For these reasons,

the State respectfully petitions for rehearing en banc.



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                                STATEMENT

     A.   Legal Background
     California law generally prohibits (1) the loan or transfer of any firearm

to a person under 21 years of age, (2) the sale of a firearm to a minor—

someone younger than 18—under any circumstances, and (3) the possession

of a firearm by a minor. See Cal. Penal Code §§ 27505, 27510, 29610. There

are limited exceptions to these prohibitions, all of which require the

possession to be for a specific recreational, agricultural, or artistic purpose

and all of which require the supervision and/or permission of a parent, legal

guardian, and/or a responsible adult, depending on the purpose for which the

item is used and, in some cases, the age of the minor. See Cal. Penal Code

§§ 27505, 29615; Opn. 6-7. 1

     The law at issue here is Section 22949.80 of the California Business

and Professions Code. It prohibits a “firearm industry member” from

advertising, marketing, or arranging for placement of an advertising or

marketing communication offering or promoting any firearm-related

products “in a manner that is designed, intended, or reasonably appears to be

attractive to minors.” Cal. Bus. & Prof. Code § 22949.80(a)(1); see Opn.



      All Opinion citations are to the published opinion in Junior Sports
      1

Magazines Inc. v. Bonta, No. 22-56090.
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7-8. “[M]arketing or advertising” means “in exchange for monetary

compensation, to make a communication to one or more individuals, or to

arrange for the dissemination to the public of a communication, about a

product, the primary purpose of which is to encourage recipients of the

communication to engage in a commercial transaction.” Cal. Bus. & Prof.

Code § 22949.80(c)(6).

     The statute directs courts to determine whether marketing or

advertising is “attractive to minors” by “consider[ing] the totality of the

circumstances, including” a non-exclusive statutory list of six

characteristics. Cal. Bus. & Prof. Code § 22949.80(a)(2); id.

§ 22949.80(a)(2)(A)-(F). The law does not apply to communications

offering or promoting firearm safety and hunting safety programs, firearm

instructional courses, sport shooting events and competitions, and other

similar programs, courses, and events. Id. § 22949.80(a)(3). It also does not

apply to communications offering or promoting organizational memberships

and lawful hunting activities, such as fundraising events, youth hunting

programs, and outdoor camps. Id.

     The Legislature adopted Section 22949.80 after considering disturbing

evidence about gun-related injuries and fatalities among children. See, e.g.,

Junior Sports Magazines, 3-ER-417, 3-ER-500; see also Opn. 7. The author
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of the law recognized that gun violence is now the third-leading cause of

death for children and teens in California. Junior Sports Magazines, 3-ER-

517. The Legislature observed that nearly half of all active shooting

incidents at educational facilities in the United States from 2000 to 2019

were perpetrated by someone under the age of 18. Junior Sports Magazines,

3-ER-509. And the CDC recently reported that in 2020, for the first time,

firearm-related injuries surpassed motor vehicle crashes as the leading cause

of death nationwide among children and adolescents. Junior Sports

Magazines, 3-ER-434; 3-ER-509. Indeed, when it comes to advertising and

marketing, “children [are] a vulnerable consumer group because of their

budding developmental abilities.” Junior Sports Magazines, 3-ER-438; see

also Junior Sports Magazines, 3-ER-476 (“Research on the effects of

advertising has shown that [it] may be responsible for up to 30% of underage

tobacco and alcohol use”) (citing John P. Pierce, Ph.D. et al., Tobacco

Industry Promotion of Cigarettes and Adolescent Smoking, 279 J. OF AM.

MED. ASS’N 511, 511-15 (1998)). The Legislature designed Section

22949.80 to address the State’s “compelling interest in ensuring that minors

do not possess” firearms, because it recognized that “[f]irearms marketing

contributes to the unlawful sale of firearms to minors, as well as the



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unlawful transfer of firearms to minors by adults who may possess those

weapons lawfully.” Assem. B. 2571, Ch. 77 § 1 (Cal. 2022).

     B.    Procedural Background
     Plaintiffs in Junior Sports Magazines and in Safari Club International

brought suit in the Central and Eastern Districts of California, respectively,

challenging the constitutionality of Section 22949.80 under the First

Amendment as well as the Fourteenth Amendment. Opn. 8-9; Safari Club

Int’l, ER-3. In each case, they also moved for a preliminary injunction

against Section 22949.80 in its entirety. Id. Each district court denied the

plaintiffs’ motion, applying the intermediate scrutiny test set forth in Central

Hudson Gas & Electric Corp. v. Public Service Commission of New York,

447 U.S. 557 (1980). Junior Sports Magazines, 1-ER-27-47; Safari Club

Int’l, ER-21-28. After consulting relevant Supreme Court case law and

comparable cases in other circuits, each district court concluded that Section

22949.80 directly and materially advances California’s substantial public

safety interests and is no more extensive than necessary to serve those

interests. Id.

     Plaintiffs in each matter appealed. In Junior Sports Magazines, the

panel reversed, holding in key part that the plaintiffs had demonstrated a

likelihood of success on their First Amendment claim because Section

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22949.80 likely would not satisfy intermediate scrutiny under Central

Hudson. Opn. 10-11. The panel acknowledged that “California has a

substantial interest in reducing gun violence and unlawful use of firearms by

minors.” Id. at 5. But it held that Section 22949.80 does not directly and

materially advance either interest, rejecting the State’s argument that

common sense demonstrates that restricting firearm-related advertising will

reduce gun violence and unlawful firearm possession. Id. at 14-18. Even

though it “agree[d] that advertising can theoretically stimulate demand” (id.

at 16), the panel faulted the State for failing to invoke any “case of a minor

in California unlawfully buying a gun” (id. at 14) or introduce empirical

evidence “that minors are unlawfully using firearms because of

advertisements for guns by the firearm industry” (id. at 17). The panel

further held that the law is “more extensive than necessary” because “it

sweeps in truthful ads about lawful use of firearms for adults and minors

alike.” Id. at 6; see id. at 18-20. The panel concluded that the remaining

preliminary injunction factors also weighed in the plaintiffs’ favor, and

remanded the matter to the district court for further proceedings. Id. at 21.

     In Safari Club International, the panel subsequently issued a

Memorandum reversing the denial of preliminary injunction in that matter

“for the reasons outlined” in its Junior Sports Magazines decision, and
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similarly remanding that case to the district court for further proceedings.

Safari Club Int’l, Memorandum at 1-2. This Court granted the State’s

requests in both appeals for a 45-day extension to file the instant petition.

Junior Sports Magazines, ECF 43; Safari Club Int’l, ECF 30. Plaintiffs in

Junior Sports Magazines moved for an injunction pending appeal, which this

Court denied. Junior Sports Magazines, ECF 48.

         REASONS FOR GRANTING REHEARING EN BANC
     The intermediate scrutiny analysis in the panel’s Junior Sports

Magazines opinion (incorporated in the memorandum disposition in Safari

Club International) conflicts with Supreme Court and circuit precedent by

demanding empirical evidence to demonstrate that Section 22949.80 furthers

the State’s substantial interests, and by determining that a law is not

sufficiently tailored because some hypothetical applications could be

overinclusive. The panel’s errors present concerns of exceptional importance

by undermining the State’s ability to address public safety in this case and

creating uncertainty in future cases involving commercial speech

regulations.




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I.   THE PANEL MISAPPLIED THE INTERMEDIATE SCRUTINY
     STANDARD IN HOLDING THAT SECTION 22949.80 DOES NOT
     DIRECTLY ADVANCE THE STATE’S SUBSTANTIAL INTERESTS
     Precedent from the Supreme Court, this Court, and other circuits

establishes that the State can meet its burden under Central Hudson to show

that a law directly advances its substantial interests through common sense

and logic. When it comes to advertising in particular, the Supreme Court has

repeatedly “acknowledged the theory that product advertising stimulates

demand for products, while suppressed advertising may have the opposite

effect.” Lorillard Tobacco Co. v. Reilly, 533 U.S. 525, 557 (2001). And this

Court has likewise observed that “[i]t is assuredly a matter of common

sense” that restricting advertising will influence consumer behavior—and

that principle can form the foundation of the government’s showing that a

regulation advances its interests. Coyote Publ’g, Inc. v. Miller, 598 F.3d 592,

608 (9th Cir. 2010) (quoting Rubin v. Coors Brewing Co., 514 U.S. 476, 489

(1995) (internal quotation marks omitted)). The panel decision conflicts with

that precedent because it arbitrarily rejected the State’s argument that

firearm advertisements directed at minors increase the likelihood that minors

will illegally purchase, possess, and use firearms; and instead demanded that

the State make an empirical showing to justify that obvious relationship.



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     Under Central Hudson, the government must establish that its

regulation of commercial speech “advances the Government’s interest in a

direct and material way.” Fla. Bar v. Went For It, Inc., 515 U.S. 618, 625-

626 (1995) (internal quotation marks omitted). To carry this burden,

however, the government need not present empirical evidence and data, but

can rely on “history, consensus, and ‘simple common sense.’” Fla. Bar, 515

U.S. at 628 (quoting Burson v. Freeman, 504 U.S. 191, 211 (1992)); see

Metromedia, Inc. v. City of San Diego, 453 U.S. 490, 509 (1981) (plurality

opinion) (upholding speech restrictions based on “common-sense

judgments” of lawmakers). In Burson, the Court held that—even under strict

scrutiny—those considerations established that a ban on voter solicitation

near a polling place advanced the State’s interests in preventing voter

intimidation and election fraud. Id. at 211; see also Fla. Bar, 515 U.S. at 628

(citing Burson in intermediate scrutiny context).

     The Supreme Court has concluded that inferential reasoning can justify

restrictions on advertising in particular, including in the absence of empirical

evidence. In Metromedia, the Court held that a ban on off-premises

commercial advertising directly advanced the government’s stated interest in




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traffic safety. 453 U.S. at 512 (plurality opinion).2 The Court credited “the

accumulated, common-sense judgments of local lawmakers and of the many

reviewing courts that billboards are real and substantial hazards to traffic

safety” despite the “meager record” on that point. Id. at 508-509 (plurality

opinion). Even more on point is United States v. Edge Broadcasting Co.,

which upheld a federal restriction on lottery advertising by broadcasters in

States that did not allow lotteries. 509 U.S. 418, 421 (1993). Without

reviewing any data on this point, the Court relied on the basic proposition

that advertising restrictions reduce demand. Id. at 434 (“[T]he Government

may be said to advance its purpose [of decreasing demand for gambling] by

substantially reducing lottery advertising, even where it is not wholly

eradicated”).

     This Court and other federal courts of appeal have applied the same

principle: “Common sense counsels that advertising tends to stimulate

demand for products and services. Conversely, prohibitions on advertising

tend to limit demand.” Coyote Publ’g., 598 F.3d at 608. Coyote Publishing



      2
        Although the opinion was labeled a plurality, a fifth Justice joined
the section upholding the restriction on offsite commercial advertising.
Metromedia, 453 U.S. at 541 (Stevens, J., dissenting) (joining Part IV); see
City of Austin v. Reagan Nat’l Advert. of Austin, LLC, 596 U.S. 61, 73 n.5
(2022).
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relied on that chain of reasoning to conclude that Nevada’s restriction on

advertising the sale of sexual services advanced its policy of limiting

commodification of sex. Id. (“[r]educing the demand for commercial sex

acts in turn limits the commodification of sex”). The Fourth and Sixth

Circuits have recognized similar logic in upholding laws that specifically

restrict advertising of particular products to minors. See Educ. Media Co. at

Va. Tech, Inc. v. Swecker, 602 F.3d 583, 589 (4th Cir. 2010) (relationship

between State’s interests and advertising restriction “need not be proven by

empirical evidence” but “may be supported by history, consensus, and

simple common sense”) (internal quotation marks omitted); Disc. Tobacco

City & Lottery, Inc. v. United States, 674 F.3d 509, 539-540 (6th Cir. 2012)

(regardless whether government presented empirical evidence to support

restriction, argument “that there is no causal connection between product

advertising and the consumer behavior of children” would “stretch[] the

bounds of credulity”).

     The panel here applied intermediate scrutiny in a way that directly

conflicts with these precedents. The State defended the law based on the

causal link—supported by precedent, common sense, and record evidence—

between the influence of advertising and the use of certain products by

youth. See supra at 5-6. The panel “agree[d] that advertising can
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theoretically stimulate demand” (Opn. 16) and acknowledged California’s

arguments that restricting advertising of firearms to minors would

“dampen[] demand for firearms among minors” and reduce “the overall

likelihood that minors will illegally possess and use those products—not just

purchase them” (id. at 14 (emphasis removed)). But the panel nonetheless

reasoned that the State’s regulation did not advance substantial interests

based on its own assertion—unsupported by any citation—that “a state can

invoke ‘common sense’ only if the connection between the law restricting

speech and the government goal is so direct and obvious that offering

evidence would seem almost gratuitous.” Id. at 15. And it insisted that the

State produce additional “evidence” or a specific “anecdote” that “minors

are unlawfully using firearms because of advertisements” (id. at 17) or that a

minor “unlawfully bought a firearm in California” (id. at 14).

     The panel’s flawed reasoning contravenes settled law. Other decisions

applying intermediate scrutiny have not required the government to mount

an empirical defense of the relationship between advertising and demand,

but have accepted that basic logical premise. The panel’s reliance on 44

Liquormart, Inc. v. Rhode Island, 517 U.S. 484 (1996) (Opn. 15-16) does

not prove otherwise: the plurality there agreed that “common sense supports

the conclusion” that a restriction on alcohol price advertising would reduce
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demand. 517 U.S. at 505 (plurality opinion). That principle was insufficient

in that case because of specific evidence in the record that contravened the

causal link. See id. (plurality opinion) (noting district court’s

“uncontradicted finding” that regulation would not significantly reduce

demand for alcohol, as well as evidence showing that demand from “abusive

drinker[s] will probably not be deterred”).3 Here, the panel’s refusal to credit

the State’s logic does not rest on comparable facts.




      3
        The panel also distinguished cases involving limitations on tobacco
and alcohol advertisements by claiming that minors cannot legally consume
tobacco or alcohol, but can use firearms in California under certain
circumstances. Opn. 16 n.2 (citing Disc. Tobacco, 674 F.3d at 539-541). But
as with firearms, it is not as a blanket matter unlawful for a minor to possess
or consume tobacco under federal and California law. See, e.g., Cal. Dep’t of
Pub. Health, California Tobacco Retailers Frequently Asked Questions
(FAQ) About Tobacco Laws, at 3 (July 16, 2020), available at
https://www.cdph.ca.gov/Programs/CCDPHP/DCDIC/CTCB/CDPH%20Do
cument%20Library/Tobacco21Law/Retail_Tobacco_Laws_FAQ.pdf
(describing that federal and state law do not prohibit the possession of
tobacco by a person under the age of 21). The panel also pointed out that in
Discount Tobacco, the record included empirical support showing that
advertising contributes to underage substance abuse. Opn. 16 n.2; see Disc.
Tobacco, 674 F.3d at 540. That is true, but it does not undermine the Sixth
Circuit’s observation that the connection between advertising and minors’
behavior would be plain even without such evidence. Disc. Tobacco, 674
F.3d at 540.
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II.   THE PANEL MISAPPLIED THE INTERMEDIATE SCRUTINY
      STANDARD IN HOLDING THAT SECTION 22949.80 IS MORE
      EXTENSIVE THAN NECESSARY
      The Supreme Court and circuit courts have also recognized that a

regulation of commercial speech may be sufficiently tailored even if it could

be overinclusive in some circumstances. The panel’s decision conflicts with

that principle because it concludes that the law was more extensive than

necessary based solely on the law’s hypothetical application to marketing to

adults and marketing that promotes rather than undermines public safety.

      The fourth and final step of the Central Hudson test directs that a

restriction on commercial speech must not be “more extensive than

necessary to serve the interests that support it.” Greater New Orleans Broad.

Ass’n, Inc. v. U.S., 527 U.S. 173, 188 (1999). Under intermediate scrutiny,

the government need not choose “the least restrictive means,” but only “a

means narrowly tailored to achieve the desired objective.” Fla. Bar, 515

U.S. at 632; see also Lorillard Tobacco Co., 533 U.S. at 556. If a statute

falls within those bounds, courts “leave it to governmental decisionmakers to

judge what manner of regulation may best be employed.” Bd. of Trustees of

State Univ. of N.Y. v. Fox, 492 U.S. 469, 480 (1989).

      The Supreme Court has explained that a speech restriction may be

“reasonably well tailored to its stated objective” even if it reaches some

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speech which does not directly serve the interests at hand. See Fla. Bar, 515

U.S. at 632-633. In Florida Bar, for example, the Court held that an

antisolicitation regulation was sufficiently tailored to the state interest in

“eliminating targeted mailings whose type and timing are a source of distress

to Floridians” (id. at 633) despite plaintiffs’ contention that the rule was

“unconstitutionally overinclusive” because it also reached mailings “to

citizens whose injuries or grief are relatively minor” (id. at 632-33). In

Lorillard Tobacco Co., 533 U.S. 525, the Court embraced similar principles;

Lorillard thus does not support the panel’s heightened view of the tailoring

requirement. Contra Opn. 19. The Court there also recognized that

intermediate scrutiny calls only for a “reasonable fit” between means and

ends—which “does not mean that a State must demonstrate that there is no

incursion on legitimate speech interests.” Lorillard Tobacco Co., 533 U.S. at

561, 565.

     This Court, too, has reasoned that the tailoring analysis does not rise

and fall based on the mere existence of potentially overbroad applications of

the statute. Instead, when it comes to a facial challenge, “the overbreadth of

a statute must not only be real, but substantial as well, judged in relation to

the statute’s plainly legitimate sweep.’” Coyote Publ’g, 598 F.3d at 610

(quoting Wash. Mercantile Ass’n v. Williams, 733 F.2d 687, 692 (9th Cir.
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1984)); Wash. Mercantile Ass’n, 733 F.2d at 692 (court “need not consider

every possible application of the statute that might impermissibly inhibit

protected speech”). The Sixth Circuit also applied those principles in

Discount Tobacco, holding that a restriction on tobacco advertising to

minors was sufficiently tailored even though it might “sweep[] in vital

speech to . . . adult tobacco customers.” 674 F.3d at 541.

     Again, the panel’s decision stands in conflict with other precedents

applying intermediate scrutiny. The panel held that Section 22949.80 is not

narrowly tailored because it might “potentially” reach an advertisement that

promotes a “camouflage-colored” gun for adults, or one that features a

“safer gun for minors.” Opn. 19. In so reasoning, the panel held the State to

an unduly demanding burden of rebutting every conceivable application of

the law to speech that does not directly promote gun violence among minors.

Under Central Hudson and relevant precedent, the tailoring inquiry should

have turned on a broader question: whether the chosen regulation reasonably

focuses on restricting speech that causes the harms it targets. Section

22949.80 satisfies that standard because it regulates only a narrow category

of commercial speech—advertising and marketing that promotes firearm




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products and are designed, intended, or reasonably appear to be attractive to

minors. 4

III. THIS CASE INVOLVES QUESTIONS OF EXCEPTIONAL
     IMPORTANCE
     The panel’s misapplication of the intermediate scrutiny standard

implicates questions of exceptional importance. First, it undermines the

State’s ability to address the important public safety concerns at the heart of

this law. Section 22949.80 represents the Legislature’s focused effort to

combat the serious problems of gun violence and minors’ involvement

therein. Opn. 13; see, e.g., Junior Sports Magazines, 3-ER-417, 3-ER-517-

518. By concluding that the law is likely unconstitutional based on an

unduly rigorous application of intermediate scrutiny, the panel has impaired

the Legislature’s “needed leeway” to combat real and pervasive violence




      4
        The panel’s conclusion that the law was not sufficiently tailored also
rested on its characterization of the regulation as “effectively constitut[ing] a
blanket restriction on firearm-product advertising.” Opn. 19. That
interpretation is inconsistent with the plain text of the law, which is limited
to communications that are attractive to minors based on the totality of the
circumstances, including specific statutory factors which, while non-
exclusive, all must be considered by a court. See Cal. Bus. & Prof. Code
§ 22949.80(a)(2). It also is inconsistent with the Legislature’s stated intent,
which expressly centered on “[m]arketing or advertising attractive to
minors.” Id. § 22949.80 (emphasis added).
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that affects the lives of Californians. See Fox, 492 U.S. at 481.

     Second, the panel’s decision will create confusion in future cases

involving commercial speech regulation. The Supreme Court has long

recognized that “commercial speech [enjoys] a limited measure of

protection, commensurate with its subordinate position in the scale of First

Amendment values,” and may be subjected to “modes of regulation that

might be impermissible in the realm of noncommercial expression.” Ohralik

v. Ohio State Bar Ass’n, 436 U.S. 447, 456 (1978). The panel’s imposition

of heightened burdens on the State is not consistent with those principles. If

the opinion is left in place, it may encourage future challenges to reasonable

restrictions on commercial speech—threatening the ability of States and

other governments to effectively alleviate pressing harms.

                               CONCLUSION
     The petition for rehearing en banc in Junior Sports Magazines and

Safari Club International should be granted.




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Dated: November 13, 2023       Respectfully submitted,

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                 UNITED STATES COURT OF APPEALS
                        FOR THE NINTH CIRCUIT
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        ADDENDUM
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                          FOR PUBLICATION

           UNITED STATES COURT OF APPEALS
                FOR THE NINTH CIRCUIT

        JUNIOR SPORTS MAGAZINES                    No. 22-56090
        INC.; RAYMOND BROWN;
        CALIFORNIA YOUTH SHOOTING                    D.C. No.
        SPORTS ASSOCIATION, INC.;                 2:22-cv-04663-
        REDLANDS CALIFORNIA YOUTH                    CAS-JC
        CLAY SHOOTING SPORTS, INC.;
        CALIFORNIA RIFLE AND PISTOL
        ASSOCIATION, INCORPORATED;                   OPINION
        THE CRPA FOUNDATION; GUN
        OWNERS OF CALIFORNIA, INC.;
        SECOND AMENDMENT
        FOUNDATION,

                      Plaintiffs-Appellants,

          v.

        ROB BONTA, in his official capacity
        as Attorney General of the State of
        California; DOES 1 - 10,

                      Defendants-Appellees.

               Appeal from the United States District Court
                   for the Central District of California
               Christina A. Snyder, District Judge, Presiding
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        2            JUNIOR SPORTS MAGAZINES, INC. V. BONTA


                     Argued and Submitted June 28, 2023
                            Pasadena, California

                           Filed September 13, 2023

            Before: N. Randy Smith, Kenneth K. Lee, and Lawrence
                          VanDyke, Circuit Judges.

                           Opinion by Judge Lee;
                       Concurrence by Judge VanDyke


                                  SUMMARY*


                   First Amendment/Commercial Speech

            The panel reversed the district court’s denial of
        plaintiffs’ motion for a preliminary injunction seeking to
        enjoin, pursuant to the First and Fourteenth Amendments, a
        California law that prohibits the advertising of any “firearm-
        related product in a manner that is designed, intended, or
        reasonably appears to be attractive to minors.” California
        Business and Professions Code § 22949.80.
           The panel assumed that California’s law regulates only
        commercial speech and that intermediate scrutiny applies.
            Applying intermediate scrutiny, the panel first concluded
        that because California permits minors under supervision to
        possess and use firearms for hunting and other lawful


        *
         This summary constitutes no part of the opinion of the court. It has
        been prepared by court staff for the convenience of the reader.
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                    JUNIOR SPORTS MAGAZINES, INC. V. BONTA             3


        activities, Section 22949.80 facially regulates speech that
        concerns lawful activity and is not misleading. Next, the
        panel held that section 22949.80 does not directly and
        materially advance California’s substantial interests in
        reducing gun violence and the unlawful use of firearms by
        minors. There was no evidence in the record that a minor in
        California has ever unlawfully bought a gun, let alone
        because of an ad. Finally, the panel held that section
        22949.80 was more extensive than necessary because it
        swept in truthful ads about lawful use of firearms for adults
        and minors alike. Because plaintiffs had shown a likelihood
        of success on the merits and the remaining preliminary
        injunction factors weighed in plaintiffs’ favor, the panel
        reversed the district court’s denial of the preliminary
        injunction and remanded for further proceedings.
            Concurring, Judge VanDyke wrote separately to
        emphasize that laws like section 2249.80, which attempt to
        use the coercive power of the state to eliminate a viewpoint
        from public discourse, deserve strict scrutiny. This circuit’s
        precedent is ambiguous about whether viewpoint-
        discriminatory laws that regulate commercial speech are
        subject to strict scrutiny. In the appropriate case, this circuit
        should make clear they are.
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        Firearm Ownership, and Citizens’ Committee for the Right
        to Keep and Bear Arms.



                                OPINION

        LEE, Circuit Judge:

            This case is not about whether children can buy firearms.
        (They cannot under California law.) Nor is this case about
        whether minors can legally use firearms. (California allows
        minors under adult supervision to possess and use firearms
        for hunting, target practice, and other activities.) And this
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                    JUNIOR SPORTS MAGAZINES, INC. V. BONTA           5


        case is not about whether California has tools to combat the
        scourge of youth gun violence. (It does.)
            Rather, this case is about whether California can ban a
        truthful ad about firearms used legally by adults and
        minors—just because the ad “reasonably appears to be
        attractive to minors.” So, for example, an ad showcasing a
        safer hunting rifle with less recoil for minors would likely be
        unlawful in California. Under our First Amendment
        jurisprudence, states can ban truthful and lawful advertising
        only if it “materially” and “directly” advances a substantial
        government interest and is no more extensive than
        necessary. California likely cannot meet this high bar.
            While California has a substantial interest in reducing
        gun violence and unlawful use of firearms by minors, its law
        does not “directly” and “materially” further either goal.
        California cannot straitjacket the First Amendment by, on
        the one hand, allowing minors to possess and use firearms
        and then, on the other hand, banning truthful advertisements
        about that lawful use of firearms. There is no evidence in
        the record that a minor in California has ever unlawfully
        bought a gun, let alone because of an ad. Nor has the state
        produced any evidence that truthful ads about lawful uses of
        guns—like an ad about hunting rifles in Junior Sports
        Magazines’ Junior Shooters—encourage illegal or violent
        gun use among minors. Simply put, California cannot lean
        on gossamers of speculation to weave an evidence-free
        narrative that its law curbing the First Amendment
        “significantly” decreases unlawful gun use among minors.
        The First Amendment demands more than good intentions
        and wishful thinking to warrant the government’s muzzling
        of speech.
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            California’s law is also more extensive than necessary,
        as it sweeps in truthful ads about lawful use of firearms for
        adults and minors alike. For instance, an advertisement
        directed at adults featuring a camouflage skin on a firearm
        might be illegal because minors may be attracted to it.
            Because Junior Sports Magazines has shown a likelihood
        of success on the merits and the remaining Winter factors
        favor it, we reverse the district court’s denial of preliminary
        injunction and remand. Winter v. Nat. Res. Def. Council,
        Inc., 555 U.S. 7, 20 (2008).
                             BACKGROUND
        I. California enacts § 22949.80 to prohibit advertising
           firearm-related products “in a manner that is
           designed, intended, or reasonably appears to be
           attractive to minors.”
            California’s gun restriction laws are considered among
        the strictest of any state in the nation. 2023 Everytown Gun
        Law Rankings, Everytown Rsch. & Pol’y (Jan. 12, 2023),
        https://everytownresearch.org/rankings. Yet firearm-related
        activities, such as hunting and sport shooting, remain
        popular among Californians, including minors, across a vast
        swath of this state. See, e.g., License Statistics: Hunting
        Licenses, Cal. Dept. of Fish & Wildlife (last visited July 24,
        2023),
        https://wildlife.ca.gov/Licensing/Statistics/action/review/co
        ntent/6949#huntinglicenses. California allows minors—
        with the consent or supervision of a parent or guardian—to
        possess and use firearms for “lawful, recreational sport,
        including, but not limited to, competitive shooting, or
        agricultural, ranching, or hunting activity.” Cal. Penal Code
        §§ 29615, 29610. In fact, California law encourages and
        incentivizes lawful firearm use among minors. See, e.g.,
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        Hunting Licenses and Tags, Cal. Dep’t of Fish & Wildlife,
        https://wildlife.ca.gov/licensing/hunting              (offering
        discounted license fees for “junior hunters,” i.e., those under
        sixteen years old).
            Amid concerns about gun violence, however, the
        California legislature recently became wary of youth interest
        in firearms. According to the legislature, “the proliferation
        of firearms to and among minors poses a threat to the health,
        safety, and security of all residents of, and visitors to, [the]
        state,” as “[t]hese weapons are especially dangerous in the
        hands of minors.” Assemb. B. 2571, Ch. 77 § 1 (Cal. 2022).
        The legislature thus sought to quell that interest. But rather
        than repeal California’s firearm-possession laws for minors
        (which could spark opposition from many Californians who
        use firearms lawfully), the legislature chose to regulate the
        “firearm industry” by limiting what it can say in the state.
        The resulting law, Assembly Bill (AB) 2571, is the subject
        of this appeal.
            AB 2571, as later amended by AB 160, is codified at
        § 22949.80 of the California Business and Professions Code.
        The statute mandates that “[a] firearm industry member shall
        not advertise, market, or arrange for placement of an
        advertising or marketing communication offering or
        promoting any firearm-related product in a manner that is
        designed, intended, or reasonably appears to be attractive to
        minors.” Cal. Bus. & Prof. Code § 22949.80(a)(1). It thus
        applies only to marketing or advertising, which it defines as
        making, “in exchange for monetary compensation, . . . a
        communication, about a product, the primary purpose of
        which is to encourage recipients of the communication to
        engage in a commercial transaction.” Id. § 22949.80(c)(6).
        The law does not apply, however, to communications
        “offering or promoting” firearm safety programs, shooting
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        competitions, hunting activities, or membership in any
        organization. Id. § 22949.80(a)(3).
            For advertisements that fall within the scope of the
        regulation, § 22949.80 prescribes a totality-of-the-
        circumstances test to determine whether the marketing is
        “attractive to minors.”       Id. § 22949.80(a)(2).      This
        assessment considers, for example, whether the
        advertisement “[o]ffers brand name merchandise for
        minors”; “[o]ffers firearm-related products in sizes, colors,
        or designs that are specifically designed to be used by, or
        appeal to, minors”; or “[u]ses images or depictions of minors
        in advertising and marketing materials to depict the use of
        firearm-related products.” Id. § 22949.80(a)(2)(B)–(C), (E).
           Section 22949.80 is enforced with civil penalties not
        exceeding $25,000 for each violation, and injunctive relief is
        available “as the court deems necessary to prevent the harm
        described in this section.” Id. § 22949.80(e)(1), (4).
        II. The district court denies Junior Sports Magazines
            Inc. preliminary injunctive relief against the
            enforcement of § 22949.80.
            Junior Sports Magazines Inc. publishes Junior Shooters,
        a youth-oriented magazine focused on firearm-related
        activities and products. According to Junior Sports
        Magazines, its ability to publish Junior Shooters depends on
        advertising revenue. Fearing liability under § 22949.80,
        Junior Sports Magazines has ceased distributing the
        magazine in California and has placed warnings on its
        website deterring California minors from accessing its
        content.
          Shortly after California enacted AB 2571, Junior Sports
        Magazines challenged its constitutionality under the First
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                    JUNIOR SPORTS MAGAZINES, INC. V. BONTA             9


        and Fourteenth Amendments. Junior Sports Magazines also
        moved to preliminarily enjoin the enforcement of
        § 22949.80. The district court denied the injunction,
        however, determining that Junior Sports Magazines was not
        likely to succeed on the merits of its claims. In particular,
        the court found that § 22949.80 regulates only commercial
        speech. It thus did not review the law under strict scrutiny—
        as would typically apply to laws restricting speech—and
        instead applied the less-stringent intermediate scrutiny
        standard established by Central Hudson Gas & Electric
        Corp. v. Public Service Commission of New York, 447 U.S.
        557 (1980). Under this standard, the court found that
        § 22949.80 is likely constitutional, determining that the law
        is no more restrictive than necessary to advance the
        government’s substantial interest in reducing unlawful
        firearm possession and preventing violence. Junior Sports
        Magazines timely appealed the district court’s order.
                        STANDARD OF REVIEW
            “A plaintiff seeking a preliminary injunction must
        establish that [it] is likely to succeed on the merits, that [it]
        is likely to suffer irreparable harm in the absence of
        preliminary relief, that the balance of equities tips in [its]
        favor, and that an injunction is in the public interest.”
        Winter, 555 U.S. at 20. The most important among these
        factors is the likelihood of success on the merits. California
        v. Azar, 911 F.3d 558, 575 (9th Cir. 2018). This is especially
        true for constitutional claims, as the remaining Winter
        factors typically favor enjoining laws thought to be
        unconstitutional. See Melendres v. Arpaio, 695 F.3d 990,
        1002 (9th Cir. 2012); see also Index Newspapers LLC v. U.S.
        Marshals Serv., 977 F.3d 817, 837–38 (9th Cir. 2020)
        (order).
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            We review the district court’s denial of a preliminary
        injunction for an abuse of discretion. Harris v. Bd. of
        Supervisors, 366 F.3d 754, 760 (9th Cir. 2004). Whether
        factual findings satisfy a First Amendment legal standard,
        like the Central Hudson test, however, is reviewed de novo.
        See Peel v. Atty. Registration & Disciplinary Comm’n, 496
        U.S. 91, 108 (1990); Prete v. Bradbury, 438 F.3d 949, 967
        (9th Cir. 2006).
                                    DISCUSSION
            The parties dispute whether we should review
        § 22949.80 as a restriction of purely commercial speech
        under the test announced in Central Hudson or as a content-
        and viewpoint-based restriction of speech under strict
        scrutiny review. We need not decide this issue because “the
        outcome is the same whether a special commercial speech
        inquiry or a stricter form of judicial scrutiny is applied.”
        Sorrell v. IMS Health Inc., 564 U.S. 552, 571 (2011). We
        thus assume that California’s law regulates only commercial
        speech and that Central Hudson’s intermediate scrutiny
        applies.1



        1
          Junior Sports Magazines contends that the Supreme Court in Sorrell
        suggested that even commercial speech restrictions “must be tested by
        heightened judicial scrutiny” if they are content or viewpoint
        discriminatory. Sorrell, 564 U.S. at 563, 566. But California responds
        that our court has read Sorrell narrowly, holding that intermediate
        scrutiny still applies for at least content-based restrictions on commercial
        speech. See Retail Digital Network, LLC v. Prieto, 861 F.3d 839, 847
        (9th Cir. 2017) (en banc). But see Int’l Outdoor, Inc. v. City of Troy, 974
        F.3d 690, 703, 705, 707–08 (6th Cir. 2020) (“[T]he intermediate-scrutiny
        standard applicable to commercial speech . . . applies only to a speech
        regulation that is content-neutral on its face.”). We, however, do not
        need to answer this question to decide this case.
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                    JUNIOR SPORTS MAGAZINES, INC. V. BONTA          11


            And even assuming that intermediate scrutiny applies,
        California’s advertising restriction likely imposes an
        unconstitutional burden on protected speech. The state has
        made no showing that broadly prohibiting certain truthful
        firearm-related advertising is sufficiently tailored to
        significantly advance the state’s goals of preventing gun
        violence and unlawful firearm possession among minors.
        Because California fails to satisfy its burden to justify the
        proposed speech restriction, Junior Sports Magazines is
        likely to prevail on the merits of its First Amendment claim.
        I. Junior Sports Magazine is likely to succeed on the
           merits of its First Amendment claim.
            When a statute restricts only commercial speech, Central
        Hudson provides a multipart test to assess whether the law
        is constitutional. Under this framework, we first ask whether
        the regulated speech is misleading or concerns unlawful
        activity. See Central Hudson, 447 U.S. at 563–64. Such
        speech receives no First Amendment protection. See id. If
        the regulated speech “is neither misleading nor related to
        unlawful activity, the government’s power is more
        circumscribed.” Id. at 564. It thus becomes the state’s
        burden to show that the statute directly and materially
        advances a substantial governmental interest and that “it is
        not more extensive than is necessary to further that interest.”
        Id. at 566; see also Edenfield v. Fane, 507 U.S. 761, 767
        (1993); Sorrell, 564 U.S. at 572.
            We hold that California has failed to justify its
        infringement on protected speech under the Supreme Court’s
        Central Hudson framework.
          A. Section 22949.80 regulates speech that is not
             misleading and that concerns lawful activity.
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           The state contends that § 22949.80 regulates misleading
        speech about unlawful activity because California law
        prohibits firearm sales to minors and restricts firearm
        possession by minors.
            But California’s argument founders on the fact that it
        permits minors under adult supervision to possess and use
        firearms for hunting, shooting competitions, and other
        lawful activities. Cal. Penal Code §§ 29615, 29610. So
        California’s prohibition on advertisements that “reasonably
        appear[] to be attractive to minors” would include messages
        about legal use of guns by minors. For example, many
        Californians hunt with their children, but it would likely be
        unlawful for a firearm industry member to show that lawful
        activity in its advertisements—not because it is misleading
        or involves illegal acts but because it “[u]ses images or
        depictions of minors . . . to depict the use of firearm-related
        products.” Cal. Bus. & Prof. Code § 22949.80(a)(2)(E).
            In addition, § 22949.80 does not apply only to speech
        soliciting minors to purchase or use firearms unlawfully.
        Instead, it applies to any advertisements “offering or
        promoting any firearm-related product in a manner that is
        designed, intended, or reasonably appears to be attractive to
        minors.”     Cal. Bus. & Prof. Code § 22949.80(a)(1)
        (emphasis added).       Because of this broad wording,
        § 22949.80 facially encompasses speech directed at adults—
        who can lawfully purchase firearms—whenever that speech
        might also reach minors. That alone refutes the state’s
        argument that the law inherently concerns unlawful activity.
        See Educ. Media Co. at Va. Tech v. Swecker, 602 F.3d 583,
        589 (4th Cir. 2010) (“[A]dvertisements for age-restricted—
        but otherwise lawful—products concern lawful activity
        where the audience comprises both underage and of-age
        members.”); Centro de la Comunidad Hispana de Locust
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                    JUNIOR SPORTS MAGAZINES, INC. V. BONTA          13


        Valley v. Town of Oyster Bay, 868 F.3d 104, 113–14 (2d Cir.
        2017) (holding that “commercial speech is not categorically
        removed from” Central Hudson’s test unless “all
        manifestations of the restricted speech” are misleading or
        relate to unlawful activity”).
            We thus hold that § 22949.80 facially regulates speech
        whose content concerns lawful activities and is not
        misleading. We now address whether the state has met its
        burden to show that the law directly and materially advances
        a substantial governmental interest and is no more extensive
        than necessary. We conclude that it has not.
          B. Section 22949.80 does not directly and materially
             advance California’s substantial interests.
            California articulates two interests for its speech
        restriction: (1) preventing unlawful possession of firearms
        by minors and (2) protecting its citizens from gun violence
        and intimidation. We recognize that these interests are
        substantial. See City of Los Angeles v. Alameda Books, Inc.,
        535 U.S. 425, 435 (2002) (plurality opinion); Nordyke v.
        Santa Clara County, 110 F.3d 707, 713 (9th Cir. 1997).
            But simply having a substantial interest does not validate
        the state’s advertising prohibition. Under Central Hudson,
        a state seeking to justify a restriction on commercial speech
        bears the burden to prove that its law directly advances that
        interest to a material degree. 447 U.S. at 564; Edenfield, 507
        U.S. at 770. To satisfy its burden, California must provide
        evidence establishing “that the harms it recites are real,”
        Edenfield, 507 U.S. at 770–71, and that its speech restriction
        will “significantly” alleviate those harms, 44 Liquormart,
        Inc. v. Rhode Island, 517 U.S. 484, 505–06 (1996) (plurality
        opinion). This burden is at its highest where, as here, a state
        “takes aim at accurate commercial information,” 44
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        Liquormart, 517 U.S. at 503, 507 (plurality opinion), in an
        express effort to regulate “a popular but disfavored product,”
        Sorrell, 564 U.S. at 577–79.
            California’s defense of § 22949.80 falls well short of this
        requirement. The state insists that the law will advance its
        substantial interests by dampening demand for firearms
        among minors. Yet every argument that it makes to bolster
        this theory lacks supporting evidence.
            To start with the obvious, a state may not restrict
        protected speech to prevent something that does not appear
        to occur. See Edenfield, 507 U.S. at 770–71. Yet here—
        despite enacting a bill whose statement of purpose asserts
        that “[f]irearms marketing contributes to the unlawful sale of
        firearms to minors”—the state admitted at oral argument that
        it is unaware of a single instance in which a minor
        unlawfully bought a firearm in California (presumably
        because a minor would not pass background check and other
        requirements). Assemb. B. 2571, Ch. 77 § 1 (Cal. 2022); cf.
        Lorillard Tobacco Co. v. Reilly, 533 U.S. 525, 557–61
        (2001) (citing multiple studies connecting tobacco-industry
        advertising to underage tobacco use). And if the state cannot
        cite a single case of a minor in California unlawfully buying
        a gun, then an advertisement about firearms logically could
        not have contributed to such a sale.
            Changing tack, the state contends that because firearm
        advertising generally creates demand for firearm-related
        products, it also increases the overall likelihood that minors
        will illegally possess and use those products—not just
        purchase them. The state reasons that by restricting firearm-
        related advertising, § 22949.80 will materially prevent
        unlawful firearm possession and limit gun violence. Rather
        than support this argument with any evidence, California
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        maintains that “common sense”—which, in reality, is just
        speculation here—provides all the justification it needs. But
        the First Amendment requires more than fact-free inferences
        to justify governmental infringement on speech.
            There are certainly cases in which “history, consensus,
        and ‘simple common sense”’ are enough to justify a law
        restricting speech. Fla. Bar v. Went For It, Inc., 515 U.S.
        618, 628 (1995) (quoting Burson v. Freeman, 504 U.S. 191,
        211 (1992)). But a state can invoke “common sense” only if
        the connection between the law restricting speech and the
        government goal is so direct and obvious that offering
        evidence would seem almost gratuitous. But as the
        government’s justifications for a regulation become more
        attenuated, bare appeals to common sense quickly veer into
        impermissible speculation. In such cases, the state needs to
        provide evidence to substantiate that its law will
        meaningfully further its stated objectives.
            The Supreme Court’s decision in 44 Liquormart, Inc. v.
        Rhode Island, is instructive. Rhode Island had banned
        advertising alcohol prices, arguing that the law would
        decrease price competition and ultimately lead to less
        alcohol consumption. 44 Liquormart, 517 U.S. at 489, 504–
        05. Writing for a plurality of the Court, Justice Stevens
        conceded that common sense could suggest that a ban on
        pricing advertisements would tend to lead to less price
        competition, causing higher market prices. Id. at 505. He
        further assumed that demand for alcohol is “somewhat
        lower” when prices are higher. Id. But the Court concluded
        that the state had to do more than appeal to common sense
        and a chain of inferences to prove that the law would
        “significantly advance the State’s interest in promoting
        temperance”: it had to provide “evidentiary support.” Id.
        (emphasis added); see also id. at 523 (Thomas, J.,
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        concurring) (disagreeing with the plurality’s approach as too
        permissive); Greater New Orleans Broad. Ass’n v. United
        States, 527 U.S. 173, 188–89 (1999) (noting that even if
        “advertising concerning casino gambling increases demand
        for such gambling, which in turn increases the amount of
        casino gambling that produces those social costs . . . . it does
        not necessarily follow that the Government’s speech ban has
        directly and materially furthered the asserted interest”).
            California’s argument suffers from a similar flaw. To be
        sure, we agree that advertising can theoretically stimulate
        demand. See Coyote Pub., Inc. v. Miller, 598 F.3d 592, 608
        (9th Cir. 2010).2 But that is not enough here for the simple
        reason that firearm use by minors is not per se unlawful. As
        explained earlier, California allows minors to possess and
        use guns with adult supervision for hunting, shooting
        competitions, target practice, and other lawful activities.
        California even encourages demand for gun use by minors
        by giving permit discounts for young hunters. See Greater
        New Orleans Broad, 527 U.S. at 189 (“[A]ny measure of the
        effectiveness of the Government’s attempt to minimize the
        social costs of gambling cannot ignore Congress’
        simultaneous encouragement of tribal casino gambling.”).


        2
          California argues that this truism is enough to meet its burden, citing
        cases involving limitations on tobacco and alcohol advertisements. See,
        e.g., Disc. Tobacco City & Lottery, Inc. v. United States, 674 F.3d 509,
        539–41 (6th Cir. 2012) (underage smoking); Swecker, 602 F.3d at 589–
        90 (underage drinking). But minors cannot legally consume tobacco or
        alcohol, so ads touting those products to minors would be per se
        unlawful. In contrast, minors are allowed to use firearms with adult
        supervision in California for certain activities. Moreover, that
        advertising contributes to underage substance use is an empirically
        supported consensus opinion. See Lorillard Tobacco Co., 533 U.S. at
        557–61 (citing studies); Disc. Tobacco, 674 F.3d at 541.
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            Given that minors can use guns in California, dampened
        demand for firearms among minors cannot by itself be a
        substantial government interest. Rather, decreasing demand
        for firearms can only be a means to an end for California.
        Ultimately, the state hopes that § 22949.80’s restrictions on
        truthful advertising will decrease demand for guns, which in
        turn will “significantly reduce” either unlawful firearm
        possession by minors or gun violence. See 44 Liquormart,
        517 U.S. at 505 (plurality opinion).
            But by relying on a chain of inferences, California cannot
        merely gesture to “common sense” to meet its burden of
        showing that the law will “significantly” advance its goals.
        If anything, “common sense” suggests the contrary: minors
        who unlawfully use guns for violence likely are not doing so
        because of, say, an advertisement about hunting rifles in
        Junior Shooters magazine. The state has provided no
        evidence—or even an anecdote—that minors are unlawfully
        using firearms because of advertisements for guns by the
        firearm industry. With no evidence connecting truthful and
        lawful firearm advertising to unlawful firearm possession or
        gun violence, California has not shown that § 22949.80
        directly advances its interests to a material degree. See id. at
        505–07; Greater New Orleans Broad., 527 U.S. at 189. And
        even if California could provide some evidence, it would
        have to show that its law restricting speech would
        “significantly” advance the state’s goals. 44 Liquormart,
        517 U.S at 505 (plurality opinion).
            In the end, California spins a web of speculation—not
        facts or evidence—to claim that its restriction on speech will
        significantly curb unlawful firearm use and gun violence
        among minors. The First Amendment cannot be so easily
        trampled through inferences and innuendo. We thus
        conclude that California has not justified its intrusion on
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        protected speech. To hold otherwise “would require us to
        engage in the sort of ‘speculation or conjecture’ that is an
        unacceptable means of demonstrating that a restriction on
        commercial speech directly advances the State’s asserted
        interest.” 44 Liquormart, 517 U.S. at 505–07 (plurality
        opinion) (quoting Edenfield, 507 U.S. at 770).
          C. Section 22949.80 is more extensive than necessary.
            Even if California’s advertising restriction significantly
        slashes gun violence and unlawful use of firearms among
        minors, the law imposes an excessive burden on protected
        speech. Central Hudson requires the government to show “a
        reasonable fit between the means and ends of the regulatory
        scheme,” Lorillard Tobacco Co., 533 U.S. at 561, such that
        the “suppression of speech ordinarily protected by the First
        Amendment is no more extensive than necessary to further
        the State’s interest,” Central Hudson, 447 U.S. at 569–70.
        So “if the Government could achieve its interests in a manner
        that does not restrict speech, or that restricts less speech, the
        Government must do so.” Thompson v. W. States Med. Ctr.,
        535 U.S. 357, 371 (2002); see also Central Hudson, 447 U.S.
        at 566 n.9 (“We review with special care regulations that
        entirely suppress commercial speech in order to pursue a
        nonspeech-related policy. In those circumstances, a ban on
        speech could screen from public view the underlying
        governmental policy.”); Sorrell, 564 U.S. at 575 (citing 44
        Liquormart, 517 U.S. at 503 (plurality opinion)).
            We emphasize again that § 22949.80 is not limited to
        speech encouraging minors to illegally buy firearms. Nor is
        it circumscribed to reach only speech depicting unlawful
        possession of firearms. It also is not narrowly focused on
        speech encouraging minors to engage in unlawful uses of
        firearms. See Sorrell, 564 U.S. at 573. And it does not target
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        advertisements in contexts geared exclusively to minors.
        See, e.g., Swecker, 602 F.3d at 590–91 (affirming the
        constitutionality of an alcohol advertising restriction that
        applied only to “campus publications targeted at students
        under twenty-one”). Instead, it applies to any firearm-
        product advertisement—no matter the audience—so long as
        it “reasonably appears to be attractive to minors.”
            Under the plain—and sweeping—language of the
        statute, a company potentially could not market a
        camouflage-colored gun for adults because it could
        “reasonably appear[] to be attractive to minors.”
        § 22949.80(a)(1). And bizarrely, California’s law would
        likely ban advertisements promoting safer guns for minors—
        for example, a hunting rifle designed for young hunters that
        has less recoil or that comes with a more secure trigger
        safety—if they are directed at minors and their parents. Id.
            In view of its apparent lack of any limiting principles,
        § 22949.80 effectively constitutes a blanket restriction on
        firearm-product advertising. A speech restriction of that
        scope is not constitutionally sound under any standard of
        review. See Lorillard Tobacco Co., 533 U.S. at 561–65
        (determining that a regulation “prohibit[ing] any smokeless
        tobacco or cigar advertising within 1,000 feet of schools or
        playgrounds” was too broad because “[i]n some
        geographical areas, [it] would constitute nearly a complete
        ban on the communication of truthful information about
        smokeless tobacco and cigars to adult consumers”); Valle
        Del Sol, 709 F.3d at 826.
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            Because the state cannot justify its broad advertising
        restriction, we conclude that Junior Sports Magazines is
        likely to prevail on the merits of its First Amendment claim.3
        II. Because Junior Sports Magazines is likely to succeed
            on the merits, the remaining Winter factors weigh in
            its favor.
             After demonstrating a likelihood of success on the merits
        of its claim, a party seeking a preliminary injunction must
        establish that it is “likely to suffer irreparable harm in the
        absence of preliminary relief, that the balance of equities tips
        in [its] favor, and that an injunction is in the public interest.”
        Winter, 555 U.S. at 20. “When the government is a party,
        the last two factors merge.” Azar, 911 F.3d at 575; see also
        Nken v. Holder, 556 U.S. 418, 435 (2009).
            But when a party has established likelihood of success
        on the merits of a constitutional claim—particularly one
        involving a fundamental right—the remaining Winter
        factors favor enjoining the likely unconstitutional law. See
        Melendres, 695 F.3d at 1002 (“It is well established that the
        deprivation of constitutional rights ‘unquestionably
        constitutes irreparable injury.’” (quoting Elrod v. Burns, 427
        U.S. 347, 373 (1976))); Index Newspapers, 977 F.3d at 838
        (recognizing “the significant public interest in upholding
        First Amendment principles” (quoting Associated Press v.
        Otter, 682 F.3d 821, 826 (9th Cir. 2012))). It is no different
        here.
                                 CONCLUSION



        3
         Given this holding, we need not address its constitutional association
        and equal protection claims.
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            California has many tools to address unlawful firearm
        use and violence among the state’s youth. But it cannot ban
        truthful ads about lawful firearm use among adults and
        minors unless it can show that such an intrusion into the First
        Amendment will significantly further the state’s interest in
        curtailing unlawful and violent use of firearms by minors.
        But given that California allows minor to use firearms under
        adult supervision for hunting, shooting, and other lawful
        activities, California’s law does not significantly advance its
        purported goals and is more extensive than necessary. In
        sum, we hold that § 22949.80 is likely unconstitutional
        under the First Amendment, and we thus REVERSE the
        district court’s denial of a preliminary injunction and
        REMAND for further proceedings consistent with this
        opinion.



        VANDYKE, Circuit Judge, concurring,

            California wants to legislate views about firearms. The
        record for recently enacted California Assembly Bill 2751
        (AB 2751) indicates a legislative concern that marketing
        firearms to minors would “seek[] to attract future legal gun
        owners,” and that that’s a negative thing. No doubt at least
        some of California’s citizens share that view. They may
        dream that someday everyone will be repulsed by the
        thought of using a firearm for lawful purposes such as
        hunting and recreation. But just as surely some of
        California’s citizens disagree with that view. Many hope
        their sons and daughters will learn to responsibly use
        firearms for lawful purposes. Firearms are controversial
        products, and don’t cease to be so when used by minors. But
        as the majority opinion explains well, there are a variety of
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        ways a minor can lawfully use firearms in California. And
        the State of California may not attempt to reduce the demand
        for lawful conduct by suppressing speech favoring that
        conduct while permitting speech in opposition. That is
        textbook viewpoint discrimination.
            That is precisely what California did in Assembly Bill
        2751. Under this law, those who want to discourage minors
        from lawfully using firearms (such as for hunting or shooting
        competitions) are free to communicate their messages.
        Certain speakers (“firearm industry members”) who want to
        promote the sale of firearms to minors, however, are
        silenced. I agree with the majority opinion that, even
        assuming intermediate scrutiny applies, California’s nascent
        speech code cannot withstand it. I write separately to
        emphasize that laws like AB 2751, which attempt to use the
        coercive power of the state to eliminate a viewpoint from
        public discourse, deserve strict scrutiny. Our circuit’s
        precedent is ambiguous about whether viewpoint-
        discriminatory laws that regulate commercial speech are
        subject to strict scrutiny. In the appropriate case, we should
        make clear they are.
          I. The California Legislature and Governor Targeted
             Speech that Encourages Lawful Conduct They
             Dislike.
            In June 2022, California enacted Assembly Bill 2751.
        AB 2751 restricts speech on the basis of viewpoint. “If a law
        is facially neutral, we will not look beyond its text to
        investigate a possible viewpoint-discriminatory motive.”
        Interpipe Contracting, Inc. v. Becerra, 898 F.3d 879, 899
        (9th Cir. 2018). But AB 2751 is not “facially neutral”
        between viewpoints on the topic of minors using firearms.
        Id. It prohibits advertisements about the use of firearms by
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        minors that make a “firearm-related product … appear[] to
        be attractive to minors,” while allowing those that don’t.
        Cal. Bus. & Prof. Code § 22949.80(a)(1). More specifically,
        the law prohibits “firearm industry members” from
        “advertis[ing], market[ing], or arrang[ing] for placement of
        an advertising or marketing communication offering or
        promoting any firearm-related product in a manner that is
        designed, intended, or reasonably appears to be attractive to
        minors.” Id. Because the law discriminates on its face, “we
        may peel back the legislative text and consider legislative
        history and other extrinsic evidence to probe the legislature’s
        true intent.” Interpipe Contracting, Inc., 898 F.3d at 899.
             When the text is peeled back, the legislative record
        indicates an intention that the law will stop the message that
        minors should lawfully use firearms, and a hope that the law
        will prevent minors from eventually becoming adults who
        have a favorable view of gun ownership and use. The very
        beginning of the legislative analysis of the bill identifies the
        messages that California attempted to stop in passing AB
        2571: messages that “entice children to be interested in
        possessing and using firearms.” One of the legislators who
        authored AB 2751 lamented in the press release announcing
        the bill that “[g]un manufacturers view children as their next
        generation of advocates.” Revealing even more animus, the
        bill’s author characterized firearms designed for minors as
        “disturbing products.”
            The record also indicates that California viewed stopping
        youth from possessing firearms as itself a compelling
        interest, independent of California’s concern with gun
        violence or misuse of firearms. AB 2751 itself includes a
        finding that California, independent of any concern for gun
        violence, “has a compelling interest in ensuring that minors
        do not possess these dangerous weapons.” The analysis
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        prepared for the Assembly Committee on Judiciary
        explicitly separated California’s interest in “protecting its
        citizens” from its “compelling interest in ensuring that
        minors do not possess these dangerous weapons.”
            Elsewhere in the legislative record, it is indicated that the
        bill “[was] prompted by the incidence of marketing and
        advertising of firearm-related products to children,”
        advertising that “arguably [sought] to attract future legal gun
        owners.” California is concerned with the prospect of
        children growing up to become “legal” gun owners. One
        ostensibly concerning example of marketing was a gun
        manufacturer marketing a firearm as being “the first in a line
        of shooting platforms that will safely help adults introduce
        children to the shooting sports.” (Emphasis added.). The
        same analysis quotes a news article stating that some
        members of the gun industry “see kids as a vital group of
        future gun buyers who need to be brought into the fold at a
        young age.”
            The bill’s author warns: “Gun manufacturers view
        children as their next generation of advocates and
        customers.” Thus, the State must take “away” the “tool” of
        advertisement “from the gun industry.” The author’s animus
        toward positive messages about firearm usage is underlined
        by the legislative record’s reference to a report criticizing the
        firearm industry’s purported attempt to cultivate interest in
        firearms from minors.
            The governor of California, who sponsored the bill,
        shared the legislature’s open animus against the messages
        targeted by AB 2751. The announcement that Governor
        Newsom signed the bill stated that the “legislation
        … directly targets the gun lobby and [firearm]
        manufacturers.” After signing the law, Governor Newsom
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        took to Twitter and described the messages prohibited by the
        bill as “sick marketing ploys” and stated that the bill “goes
        into effect immediately because decent human beings,
        people with common sense, know that we should not be
        allowing [these messages].”
            The executive branch and the bill’s proponents in the
        legislature did not work in vain to extinguish a viewpoint
        from the public discussion on firearms. AB 2751 effectively
        removes one viewpoint from the public conversation over
        the proper role of firearms in our society, while leaving the
        opposite viewpoint free to participate. Under AB 2751,
        those opposed to minors using firearms for competitions,
        hunting, and other lawful uses may advocate against such
        usage. Those who “advocat[e] for the purchase, use, or
        ownership of firearm-related products,” however, may not
        promote firearm-related products to minors, even though the
        minors can use these products for lawful activities. See, e.g.,
        Cal. Bus. & Prof. Code § 22949.80(a)(1), (c)(4)(B).
            Take, for example, a picture depicting a father and son
        hunting. Without worrying about violating any California
        law, that picture could be placed in a magazine with the
        tagline, “Unsafe! Kids Should Shoot Baskets, Not Birds.”
        AB 2751 would, however, prohibit a gun manufacturer from
        placing an advertisement using that very same picture with
        the tagline, “Our New Rifle Shoots with Precision and
        Minimal Recoil—Great for Training Young Shooters to
        Shoot Safely!” AB 2751 would suppress the latter while
        permitting the former.       “This is blatant viewpoint
        discrimination.” Good News Club v. Milford Cent. Sch., 533
        U.S. 98, 124 (2001) (Scalia, J., concurring); see also Iancu
        v. Brunetti, 139 S. Ct. 2294, 2299 (2019) (noting that the
        “essence of viewpoint discrimination” is when a law
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        “reflects the Government’s disapproval of a subset of
        messages it finds offensive” (citation omitted)).
             California has thus singled out a particular message it
        does not like and prohibited its proliferation. Its intent to
        stamp out this speech is evident from the record. And it
        crafted a targeted legislative scheme to get the job done.
        This kind of effort to stamp out disliked viewpoints deserves
        the strictest of scrutiny. “A legislature cannot privilege one
        set of speakers as the good guys, while restraining another
        set of speakers as the baddies.” Ass’n of Nat. Advertisers,
        Inc. v. Lungren, 44 F.3d 726, 739 (9th Cir. 1994) (Noonan,
        J., dissenting).
          II. California’s Undisguised Viewpoint-Discrimination
              Should Be Subjected to Strict Scrutiny.
            The First Amendment, almost universally, “forbids”
        laws that restrict speech on the basis of viewpoint. Members
        of City Council v. Taxpayers for Vincent, 466 U.S. 789, 804
        (1984). The Supreme Court has carved out one exemption
        allowing the government to discriminate between
        viewpoints: when the government is itself speaking. See,
        e.g., Legal Servs. Corp. v. Velazquez, 531 U.S. 533, 541
        (2001). The Court has not been so explicit about carving out
        any restriction from the First Amendment’s blanket
        disapprobation of viewpoint discrimination for when the
        speech is commercial. Given the strong default rule that
        viewpoint-discriminatory laws are simply impermissible
        under the First Amendment, and the lack of an express
        carveout for commercial speech restrictions, there is no good
        reason a law like AB 2751 should be subjected to anything
        less than strict scrutiny. Admittedly, our own circuit’s
        precedent leaves room to argue for a lower level of scrutiny.
        But as explained below, our precedent doesn’t compel a
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        lower level of scrutiny either. And it would be good for us
        to clarify in the right case that commercial speech isn’t an
        exception to the almost-universal rule that governmental
        attempts to police viewpoints are subjected to the highest
        form of judicial skepticism.
            Start with first principles. Government action that
        regulates speech on the basis of that speech’s content is
        inherently suspect and “presumptively unconstitutional”
        under the First Amendment. Reed v. Town of Gilbert, 576
        U.S. 155, 163 (2015). A content-based restriction regulates
        the “public discussion of an entire topic.” Id. at 156 (citation
        omitted). If California had, for example, prohibited any
        advertisements related to the use of firearms by minors, then
        arguably it would have been engaging “only” in content-
        based discrimination.
            But courts have always viewed attempts to regulate
        viewpoints with even greater suspicion than regulating
        content. Viewpoint discrimination is a type of content
        discrimination, but a “more blatant” type, Rosenberger v.
        Rector & Visitors of Univ. of Va., 515 U.S. 819, 829 (1995),
        which is why the Supreme Court has described the First
        Amendment as almost universally “forbid[ding] the
        government [from] regulat[ing] speech in ways that favor
        some viewpoints or ideas at the expense of others,” Members
        of City Council, 466 U.S. at 804. Viewpoint discrimination
        falls only a little short of being per se invalid under the First
        Amendment. See Pleasant Grove City v. Summum, 555 U.S.
        460, 469 (2009) (noting that content-based restrictions
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        “must satisfy strict scrutiny,” but “restrictions based on
        viewpoint are prohibited”).1
            Indeed, the reason for this “pocket of absolutism” in the
        Court’s First Amendment jurisprudence, where it almost
        never permits viewpoint-discriminatory speech restrictions,
        is not hard to comprehend.2 “The First Amendment creates
        an open marketplace in which differing ideas about political,
        economic, and social issues can compete freely for public
        acceptance without improper government interference.”
        Knox v. Serv. Emps. Int’l Union, Loc. 1000, 567 U.S. 298,
        309 (2012) (cleaned up). When the government attempts to
        stamp out the presentation of one viewpoint, no matter how
        much the government may dislike it, it short-circuits the
        public’s ability to reason together. “The best test of truth is
        the power of the thought to get itself accepted in the
        competition of the market, and the people lose when the
        government is the one deciding which ideas should prevail.”
        Nat’l Inst. of Fam. & Life Advocs. v. Becerra, 138 S. Ct.
        2361, 2375 (2018) (cleaned up).



        1
         The Supreme Court has repeatedly emphasized the First Amendment’s
        near-absolute prohibition on laws that restrict speech based on the
        viewpoint of the speaker. See Fowler v. Rhode Island, 345 U.S. 67, 69–
        70 (1953) (citing Niemotko v. Maryland, 340 U.S. 268, 273–73 (1951));
        Police Dep’t of City of Chicago v. Mosley, 408 U.S. 92, 96 (1972);
        Erznoznik v. City of Jacksonville, 422 U.S. 205, 209 (1975); First Nat’l
        Bank of Boston v. Bellotti, 435 U.S. 765, 785–86 (1978); Perry Educ.
        Ass’n v. Perry Local Educators’ Ass’n, 460 U.S. 37, 48–49 (1983);
        Members of City Council, 466 U.S. at 804; Cornelius v. NAACP Legal
        Def. & Educ. Fund, Inc., 473 U.S. 788, 806 (1985); Lamb’s Chapel v.
        Ctr. Moriches Union Free Sch. Dist., 508 U.S. 384, 394 (1993);
        Rosenberger, 515 U.S. at 828–29; Iancu, 139 S. Ct. at 2299.
        2
            Rodney A. Smolla, Smolla & Nimmer on Freedom of Speech § 4:8.
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            Putting first principles to the side, the Supreme Court has
        also stated that “the Constitution … accords a lesser
        protection to commercial speech than to other
        constitutionally guaranteed expression.” Cent. Hudson Gas
        & Elec. Corp. v. Pub. Serv. Comm’n of New York, 447 U.S.
        557, 563 (1980). California argues that this means that AB
        2751 need withstand only Central Hudson’s intermediate
        scrutiny. But as multiple circuits have indicated, even
        though content-based speech restrictions on commercial
        speech must only survive intermediate scrutiny, there is
        good reason to conclude that a law restricting commercial
        speech on the basis of viewpoint merits strict scrutiny. See
        Greater Phila. Chamber of Com. v. City of Philadelphia, 949
        F.3d 116, 139 (3d Cir. 2020) (“We realize, of course, that it
        may be appropriate to apply strict scrutiny to a restriction on
        commercial speech that is viewpoint-based.”); Dana’s R.R.
        Supply v. Att’y Gen., Fla., 807 F.3d 1235, 1248 (11th Cir.
        2015) (“[M]erely wrapping a law in the cloak of
        ‘commercial speech’ does not immunize it from the highest
        form of scrutiny due government attempts to discriminate on
        the basis of viewpoint.”); cf. Int’l Outdoor, Inc. v. City of
        Troy, 974 F.3d 690, 708 (6th Cir. 2020) (applying strict
        scrutiny to a restriction of commercial speech based on
        content).
             The Supreme Court has never invoked Central Hudson
        to apply intermediate scrutiny to a law that discriminates
        between viewpoints, even in the commercial context. Cf.
        R.A.V. v. City of St. Paul, 505 U.S. 377, 434 (1992) (Stevens,
        J., concurring in the judgment) (noting that “in upholding
        subject-matter regulations we have carefully noted that
        viewpoint-based discrimination was not implicated”). The
        closest the Supreme Court has come to addressing whether
        commercial speech restrictions enjoy an exemption from the
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        default rule of strict scrutiny for viewpoint discrimination
        was in Sorrell v. IMS Health, Inc., 564 U.S. 552 (2011). The
        Court there described the law’s “practical operation” as
        “go[ing] beyond mere content discrimination[] to actual
        viewpoint discrimination.” Id. at 565. The Court thus
        concluded that “heightened judicial scrutiny [was]
        warranted.” Id. Although it did not there define “heightened
        judicial scrutiny,” the Court cited two cases, one of which
        discussed intermediate scrutiny and one of which discussed
        strict scrutiny. See id. (citing Cincinnati v. Discovery
        Network, Inc., 507 U.S. 410, 418 (1993) (discussing
        intermediate scrutiny), and Turner Broad. Sys., Inc. v. FCC,
        512 U.S. 622, 658 (1994) (discussing strict scrutiny)).
            The Supreme Court noted that it could apply either “a
        special commercial speech inquiry,” i.e., something like
        Central Hudson’s intermediate scrutiny, “or a stricter form
        of judicial scrutiny.” Id. at 571. The Court then assumed
        without deciding that something like Central Hudson’s
        intermediate scrutiny applied because “the outcome [was]
        the same” regardless of which scrutiny the Court applied. Id.
        But if the Court in Sorrell had definitely concluded that
        commercial speech restrictions receive less than strict
        scrutiny even when they target certain viewpoints, it would
        have been odd for it to merely assume that something like
        intermediate scrutiny applied. Sorrell thus suggests that the
        Supreme Court has never carved out commercial speech
        from the default rule that viewpoint-discriminatory speech
        restrictions invoke strict scrutiny. It certainly doesn’t
        compel the opposite conclusion.
           The fact that the Supreme Court has never expressly
        exempted commercial speech from the standard application
        of strict scrutiny for viewpoint-discriminatory laws is
        especially probative given that the Court has exempted
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        government speech, and done so expressly. As several
        members of the Court pointed out, “[i]t is telling that the
        Court’s precedents have recognized just one narrow
        situation in which viewpoint discrimination is permissible:
        where the government itself is speaking or recruiting others
        to communicate a message on its behalf.” Matal v. Tam, 582
        U.S. 218, 253 (2017) (Kennedy, J., concurring in part and
        concurring in the judgment). “[W]hen the government
        speaks for itself, the First Amendment does not demand
        airtime for all views.” Shurtleff v. City of Boston, 142 S. Ct.
        1583, 1587 (2022). By contrast, the Court has never clearly
        exempted commercial speech.
            Indeed, it is not even clear that our own circuit’s
        precedent requires we subject a law like AB 2751 to
        anything less than strict scrutiny. California cites Retail
        Digital Network, LLC v. Prieto to support its contention that
        AB 2751, even if content-based, should receive only
        intermediate scrutiny. See 861 F.3d 839, 846 (9th Cir. 2017)
        (en banc). That is because our court there held that Sorrell
        did not change the applicability of Central Hudson’s
        intermediate scrutiny test to content-based restrictions on
        commercial speech. Id. at 849. Then-Chief Judge S.R.
        Thomas wrote a persuasive dissent in that case, explaining
        how our court misread Sorrell. Id. at 851. I agree with him
        that Sorrell “requires ‘heightened judicial scrutiny,’ rather
        than traditional intermediate scrutiny under Central
        Hudson.” Id.
            But putting aside whether Retail Digital Network was
        correctly decided, it is not obvious that the analysis in Retail
        Digital Network even controls laws that, like here,
        discriminate on the basis of viewpoint. Our court in Retail
        Digital Network never discussed the relevance of the test
        applied in Sorrell to viewpoint-based restrictions on
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        commercial speech. The court instead reasoned that Sorrell
        did not change the applicability of Central Hudson to
        content-based restrictions on speech. Id. at 848–49. While
        Retail Digital Network does not mention viewpoint-
        discrimination, one could argue that, in describing the
        scrutiny applicable to restrictions of commercial speech on
        the basis of content, our court also implicitly set the level of
        scrutiny applicable to restrictions of commercial speech on
        the basis of viewpoint—because the latter is a subset of the
        former. See Rosenberger, 515 U.S. at 829. But the Supreme
        Court has also been clear in regularly distinguishing “mere”
        content-based discrimination from the even more troubling
        viewpoint-based discrimination. See R.A.V., 505 U.S. at 391
        (“In its practical operation, moreover, the ordinance goes
        even beyond mere content discrimination, to actual
        viewpoint discrimination.”). I have my doubts that we
        should read a level of scrutiny applicable to less concerning
        laws (content-based restrictions), as automatically applying
        to more concerning laws (viewpoint-based restrictions)—
        especially given that the First Amendment all but flatly
        prohibits those more concerning laws.
             In short, there are good reasons to believe the First
        Amendment subjects viewpoint-discriminatory commercial
        speech restrictions to strict scrutiny. I see a lot in the
        Supreme Court’s precedent supporting that conclusion, and
        nothing in our precedent preventing it. But there is no need
        to wrestle these questions to the ground in this case. In the
        appropriate case where it makes a difference, we should look
        at that question closely—and I would be surprised and
        disappointed if the result was that we failed to subject to
        strict scrutiny a law that targets speech because of its
        viewpoint.
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            The Court long ago held that commercial speech
        deserves less protection under the First Amendment than
        other speech. See Cent. Hudson Gas & Elec. Corp., 447 U.S.
        at 563. Many have criticized the coherence and foundation
        of that position. See 44 Liquormart, Inc. v. Rhode Island,
        517 U.S. 484, 520 & n.2 (1996) (Thomas, J., concurring in
        part and concurring in the judgment) (collecting cases). This
        case illustrates one aspect of the damage done to our republic
        by the commercial speech doctrine. It has become an
        attractive nuisance to reactive legislatures that reflexively
        attempt to target ideas the legislature finds disagreeable. AB
        2751 is a particularly egregious example. The summary of
        AB 2751 emphasizes a belief that, just because a law
        addresses commercial speech, the government enjoys a
        carveout from the typical scrutiny applied to a law that
        directly targets ideas and messages for suppression. In other
        words, the record suggests that California believed it could
        rely on the courts’ lessened protection for “commercial
        speech” to get away with activity—suppressing ideas and
        messages the government merely finds disagreeable—that
        strikes right at the heart of the First Amendment.
            But even Central Hudson recognized that we should
        “review with special care regulations that entirely suppress
        commercial speech in order to pursue a nonspeech-related
        policy.” 447 U.S. at 566 n.9. What might justify a truly
        neutral regulation cannot “save a regulation that is in reality
        a facade for viewpoint-based discrimination.” Cornelius v.
        NAACP Legal Def. & Educ. Fund, 473 U.S. 788, 811 (1985).
        As the majority opinion correctly concludes, California here
        did such a bad job that its attack on a disfavored viewpoint
        cannot even withstand intermediate scrutiny. But we should
        be cognizant of the risks that the commercial speech doctrine
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        engenders from governments eager to impose their vision of
        rightthink on the people. And in the appropriate case, we
        should carefully consider whether our precedent and the
        Supreme Court’s precedent are truly open to the
        manipulation of free speech by governments that clothe their
        disapprobation of certain viewpoints in restrictions on
        commercial speech.
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                             NOT FOR PUBLICATION                          FILED
                      UNITED STATES COURT OF APPEALS                       SEP 22 2023
                                                                       MOLLY C. DWYER, CLERK
                                                                        U.S. COURT OF APPEALS
                             FOR THE NINTH CIRCUIT

SAFARI CLUB INTERNATIONAL, an                     No.   23-15199
Arizona nonprofit corporation; et al.,
                                                  D.C. No.
                  Plaintiffs-Appellants,          2:22-cv-01395-DAD-JDP

 v.
                                                  MEMORANDUM*
ROB BONTA, in his official capacity as
Attorney General of the State of California,

                  Defendant-Appellee.

                     Appeal from the United States District Court
                        for the Eastern District of California
                      Dale A. Drozd, District Judge, Presiding

                         Argued and Submitted June 28, 2023
                                Pasadena, California

Before: N.R. SMITH, LEE, and VANDYKE, Circuit Judges.

      Safari Club International, et al., challenge the district court’s order denying a

preliminary injunction against the enforcement of California’s recently enacted

firearm-advertising law. Cal. Bus. & Prof. Code § 22949.80. For the reasons

outlined in Junior Sports Magazines v. Bonta, No. 22-56090 (9th Cir. Sept. 13,



      *
             This disposition is not appropriate for publication and is not precedent
except as provided by Ninth Circuit Rule 36-3.
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2023), we reverse the denial of preliminary injunction and remand for further

proceedings consistent with that opinion.

      REVERSED and REMANDED.




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